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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF MICHIGAN


                                              Master File No. 1:23-cv-00738-PLM
      IN RE LANSING COMMUNITY
      COLLEGE DATA BREACH                     Hon. Paul L. Maloney
      LITIGATION
                                              CONSOLIDATED ACTION



                        ORDER AWARDING
          ATTORNEYS’ FEES, EXPENSES, AND SERVICE AWARDS

         This matter came before the Court for a duly noticed hearing on January 21,

  2025 (the “Fairness Hearing”), upon Plaintiffs’ Motion for Attorneys’ Fees, Costs,

  Expenses, and Service Awards (the “Fee, Expense, and Award Petition”) in the

  above-captioned consolidated action (“Action”). The Court has considered the Fee

  and Award Petition and all supporting and other related materials, including the

  matters presented at the Fairness Hearing. Due and adequate notice of the Class

  Action Settlement Agreement and Release entered into on June 18, 2024 (the

  “Settlement Agreement”)1 having been given to the Settlement Class Members, the

  Fairness Hearing having been held, and the Court having considered all papers filed

  and proceedings held herein and otherwise being fully informed in the premises and

  good cause appearing therefore:


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   Unless otherwise defined herein, all capitalized terms used have the meanings set
  forth and defined in the Settlement Agreement. ECF No. 41-2, PageID.844-908.

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  IT IS HEREBY ORDERED, ADJUDGED AND DECREED THAT:

        1.     This Court has personal jurisdiction over Plaintiffs, Defendant Lansing

  Community College, and all Settlement Class Members, and subject matter

  jurisdiction over the Action to approve the Settlement Agreement and all exhibits

  attached thereto.

        2.     Notice of the Fee, Expense, and Award Petition was provided to

  potential Settlement Class Members in a reasonable manner, and such notice

  complies with Rule 23(h)(1) of the Federal Rules of Civil Procedure and due process

  requirements.

        3.     Class Counsel is hereby awarded attorneys’ fees in the amount of

  $362,500.00 (three hundred sixty-two thousand five hundred dollars and zero cents),

  which shall be paid out of the Settlement Fund. Such payment shall be made pursuant

  to the terms of the Settlement Agreement.

        4.     Class Counsel is hereby awarded expenses in the amount of $9,596.85

  (nine thousand, five hundred ninety-six dollars and 85 cents), which shall be paid

  out of the Settlement Fund. Such payment shall be made pursuant to the terms of the

  Settlement Agreement.

        5.     Plaintiffs Ivory Whitby, Sameer Shah, Gabriel Banish, William Barber,

  Lindsay Luoma, and Chelsea Lee Ouimette are each individually awarded $750.00

  as a Service Award in recognition of their efforts on behalf of the Settlement Class,


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  which shall be paid out of the Settlement Fund. Such payment shall be made pursuant

  to the terms of the Settlement Agreement.

        6.    Class Counsel is hereby authorized to allocate the Fee Award and Costs

  among Plaintiffs’ Counsel in a manner in which, in Class Counsel’s judgment,

  reflects the contributions of such counsel to the prosecution and settlement of the

  Action.

        7.    In making these awards, the Court has considered and found that:

              a.     Class Counsel and Plaintiffs’ Counsel have prosecuted the

        Action and achieved the Settlement with skill, perseverance, and diligent

        advocacy;

              b.     The Action involves numerous complex factual and legal issues

        and was actively litigated and, in the absence of a settlement, would have

        involved lengthy proceedings with uncertain resolution of the numerous

        complex factual and legal issues;

              c.     Had Class Counsel and Plaintiffs’ Counsel not achieved the

        Settlement, a risk would remain that Plaintiffs and the Settlement Class may

        have recovered less or nothing from Lansing Community College;

              d.     Public policy considerations support the requested fee, as only a

        small number of firms have the requisite expertise and resources to

        successfully prosecute cases such as the Action;


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               e.     Notice was disseminated stating that Class Counsel would be

        moving for attorneys’ fees of up to (33 1/3%) (thirty-three and one-third

        percent) of the Settlement Fund, and, separately, reasonably incurred

        litigation expenses and costs (i.e., Fee Award and Costs), and that named

        Plaintiffs would be seeking a Service Award in an amount up to $1,500 (One

        Thousand Five Hundred Dollars) per Class Representative, and the amounts

        approved here in the Order are below those stated amounts;

               f.     The attorneys’ fee award is fair, reasonable, appropriate and

        consistent with the awards in similar cases, and represents a reasonable

        multiplier on Class Counsel’s and Plaintiffs’ Counsel’s lodestar, in view of

        the applicable legal principles and the particular facts and circumstances of

        the Action;

               g.     The expenses incurred were reasonable and necessary to the

        prosecution of the Action; and

               h.     Plaintiffs contributed their time and efforts to the prosecution of

        this Action for the benefit of the Settlement Class.

        8.     In the event that the Settlement is terminated or the Effective Date does

  not occur in accordance with the terms of the Settlement, this Order shall be null and

  void, of no further force or effect, and without prejudice to any of the Parties, and




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  may not be introduced as evidence or used in any actions or proceedings by any

  Person against the Parties.

        9.     Pursuant to Section 9.4 of the Settlement Agreement, the Settlement is

  not conditioned upon the Court’s approval of an award of the Fee Award and Costs

  or Service Awards.

        10.    The Settlement Administrator shall pay any attorneys’ fees, costs, and

  expenses awarded by the Court to Class Counsel from the Settlement Fund within

  five (5) Business Days after the Effective Date, subject to the terms, conditions, and

  obligations of the Settlement Agreement which terms, conditions, and obligations

  are incorporated herein. In accordance with ¶ 6 above, Class Counsel shall allocate

  (if any of) the Fee Award and Costs to Plaintiffs’ Counsel within thirty (30) days of

  receiving the Fee Award and Costs from the Settlement Administrator.

        11.    The Settlement Administrator shall pay the Service Awards approved

  by the Court to the above named Class Representatives from the Settlement Fund

  within five (5) Business Days after the Effective Date, subject to the terms,

  conditions, and obligations of the Settlement Agreement which terms, conditions,

  and obligations are incorporated herein.

  IT IS SO ORDERED.

  Date: _____________________,
          January 23           2025.             ______________________________
                                                   /s/ Paul L. Maloney
                                                 HONORABLE PAUL L. MALONEY
                                                 UNITED STATES DISTRICT JUDGE



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